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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 IN RE:                                                            CASE NO.: 19-bk-02428-KSJ
                                                                                 CHAPTER 7
 Maria Rivera,

       Debtor.
 _________________________________/

LIMITED OBJECTION TO MOTION FOR ORDER APPROVING SALE OF ESTATE’S
        INTEREST IN REAL ESTATE IN ORANGE COUNTY, FLORIDA

               COMES NOW, DEUTSCHE BANK NATIONAL TRUST COMPANY, AS

TRUSTEE FOR MORGAN STANLEY ABS CAPITAL I INC. TRUST 2007-HE2

MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2007-HE2 by and through

undersigned counsel, hereby files its Limited Objection to Motion for Order Approving Sale of

Estate’s Interest in Real Estate in Orange County, Florida (“Motion”) (Docket No. 44) and, in

support thereof, states as follows:

1.     Secured Creditor holds a first lien on the subject property located at 4903 Polaris St.,

       Orlando, FL 32819 (the “Property”).

2.     On October 7, 2019, Marie E. Henkel, Trustee (“Trustee”) filed a Motion for Order

       Approving Sale of Estate’s Interest in Real Estate in Orange County, Florida requesting

       approval to sell the property for $115,800.00.

3.     The estimated payoff of Secured Creditor’s lien is $80,122.03 as of October 31, 2019.

       This amount should not be relied upon to pay off the loan as interest and additional



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     advances may come due prior to the date of the proposed sale. Secured Creditor will

     provide an updated payoff at or near the scheduled closing of the sale.

4.   Secured Creditor does not object to the Trustee’s Motion to the extent that any sale is

     subject to Secured Creditor’s lien and that Secured Creditor’s lien will be paid in full at

     the closing of said sale based upon an up to date payoff quote.

5.   Secured Creditor is filing its Response in an abundance of caution, as Secured Creditor

     wants it to be clear that it should not be compelled to participate in a sale of the property

     absent payment in full of Secured Creditor’s mortgage lien on the real property without

     being given the right to credit bid pursuant to 11 U.S.C. § 363(k).

6.   Furthermore, Secured Creditor requests that failure to complete any sale within 90-days

     of entry of this Order will result in any Order authorizing the sale to be deemed moot.

7.   Secured Creditor reserves the right to supplement this response at or prior to any hearing

     on this matter.




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        WHEREFORE, Secured Creditor respectfully requests the Motion be conditionally

granted, and any order granting the Motion shall include the terms identified herein; and for such

other and further relief as the Court deems just and proper.



                                                 Respectfully Submitted,


                                                 Robertson, Anschutz & Schneid, P.L.
                                                 Attorney for Secured Creditor
                                                 6409 Congress Ave., Suite 100
                                                 Boca Raton, FL 33487
                                                 Telephone: 470-321-7112
                                                 Facsimile: 561-997-6909

                                                 By: /s/April Harriott
                                                 April Harriott, Esquire
                                                 Florida Bar Number 37547
                                                 Email: aharriott@rasflaw.com


                                   CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on October 25, 2019, I caused to be electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and a true and correct copy has
been served via CM/ECF or United States Mail to the following parties:
BARTLETT LEGAL, PLLC
201 SOUTH BISCAYNE BOULEVARD, 28TH FLOOR
MIAMI, FL 33131

MARIE E. HENKEL
3560 SOUTH MAGNOLIA AVENUE
ORLANDO, FL 32806

UNITED STATES TRUSTEE ORL7/13,7
OFFICE OF THE UNITED STATES TRUSTEE

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GEORGE C YOUNG FEDERAL BUILDING
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                                  By: /s/April Harriott
                                  April Harriott, Esquire
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